                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE

UNITED STATES OF AMERICA,                         )
                                                  )
               Plaintiff,                         )
                                                  )
v.                                                )       No.:   3:13-CR-45-TAV-CCS-15
                                                  )
RONNIE GENE MURPHY,                               )
                                                  )
               Defendant.                         )


                            MEMORANDUM OPINION AND ORDER

        This criminal case is before the Court on the defendant’s motion for a sentence

reduction [Doc. 1479]. In the defendant’s motion, the defendant requests that the Court

resentence him pursuant to 18 U.S.C. § 3582(c)(2) and in accordance with Amendment 782

and Amendment 788 to the United States Sentencing Guidelines Manual. The government

has responded [Doc. 1492]. The government asserts that the defendant is not eligible for

relief because he was sentenced to the statutory mandatory minimum sentence.

I.      Standard of Review

        “Federal courts are forbidden, as a general matter, to modify a term of imprisonment

once it has been imposed, but the rule of finality is subject to a few narrow exceptions.”

Freeman v. United States, 131 S. Ct. 3685, 2690 (2011) (internal citation and quotation

marks omitted). One exception is identified in 18 U.S.C. § 3582(c)(2):

        [I]n the case of a defendant who has been sentenced to a term of imprisonment
        based on a sentencing range that has subsequently been lowered by the
        Sentencing Commission . . . , the court may reduce the term of imprisonment,
        after considering the factors set forth in section 3553(a) to the extent that they
        are applicable, if such a reduction is consistent with applicable policy
        statements issued by the Sentencing Commission.




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The United States Supreme Court has interpreted § 3582(c)(2) as setting forth two

requirements for a sentence reduction. First, “the defendant [must] ha[ve] been sentenced to

a term of imprisonment based on a sentencing range that has subsequently been lowered by

the Sentencing Commission[.]”       United States v. Riley, 726 F.3d 756, 758 (6th Cir.

2013) (internal quotation marks and citation omitted). Second, “such reduction [must be]

consistent   with    applicable    policy    statements    issued    by     the   Sentencing

Commission.” Id. (internal quotation marks omitted). If the reviewing court determines that

the defendant is eligible for a sentence reduction, then “[t]he court may then ‘consider

whether the authorized reduction is warranted, either in whole or in part, according to the

factors set forth in § 3553(a).’” United States v. Thompson, 714 F.3d 946, 949 (6th Cir.

2013) (quoting Dillon v. United States, 560 U.S. 817, 826 (2010)).

       In determining whether a defendant has been sentenced to a term of imprisonment

based on a sentencing range that has subsequently been lowered by the Sentencing

Commission, the Court must first determine “the amended guideline range that would have

been applicable to the defendant had the relevant amendment been in effect at the time of the

initial sentencing.” Dillon, 560 U.S. at 827 (internal quotation marks and citation omitted);

see also U.S. Sentencing Guidelines Manual § 1B1.10(b)(1).           Other than substituting

Amendment 782 for the corresponding provision applicable when the defendant was

originally sentenced, the Court “shall leave all other guideline application decisions

unaffected.” Id. And the Court “shall not” reduce a defendant’s term of imprisonment to a

term “less than the minimum of the amended guideline range,” nor to a term “less than the

term of imprisonment the defendant has already served.” Id. § 1B1.10(b)(2)(A), (C). In

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addition to these limits, section 1B1.10 states that a court must also consider the § 3553

factors and the danger to the public created by any reduction in a defendant’s sentence. Id. at

cmt. n.1(B). A court may further consider a defendant’s post-sentencing conduct. Id.

II.      Analysis

         Amendment 782 to the Guidelines, which became effective on November 1, 2014,

revised the Guidelines applicable to drug-trafficking offenses by reducing by two levels the

offense levels assigned to the drug quantities described in section 2D1.1. U.S. Sentencing

Guidelines Manual App. C, amend. 782.           Amendment 782 also makes corresponding

changes to section 2D1.11. Amendment 788, which became effective on November 1, 2014,

as well, identified Amendment 782 as retroactive. U.S. Sentencing Guidelines Manual App.

C, amend. 788.

         Even if Amendment 782 were to lower the defendant’s offense level under Chapter

Two, Chapter Five provides that a defendant’s sentence may not be “less than any statutorily

required minimum sentence.” U.S. Sentencing Guidelines Manual § 5G1.1(c).1 Pursuant to

U.S. Sentencing Guidelines Manual § 5G1.1(b), where a statutory mandatory minimum

sentence is higher than the maximum under the Guidelines, the statutory minimum becomes

the guidelines range. That was the case here.


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         Section 1B1.10 provides one exception to the rule that a defendant may not receive a
sentence below a required mandatory minimum sentence—namely, if the court had the authority
to impose a sentence below the mandatory minimum pursuant to a government motion to reflect
the defendant’s substantial assistance to the authorities, under 18 U.S.C. § 3553(e) (providing
that a departure below a mandatory minimum sentence for a defendant’s substantial assistance
“shall be imposed in accordance with the guidelines and policy statements issued by the
Sentencing Commission pursuant to section 994 of title 28, United States Code”) and section
5K1.1 of the Sentencing Guidelines. U.S. Sentencing Guidelines § 1B1.10(c). That is not the
case here.
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       Accordingly, the Court lacks jurisdiction under § 3582(c) to modify the defendant’s

sentence. See, e.g., United States v. Coats, 530 F. App’x 553, 555 (6th Cir. 2013) (stating

that the defendant was ineligible for a sentence reduction because the defendant’s sentence

“was not ‘based on a sentencing range that has subsequently been lowered by the Sentencing

Commission’” because “the Sentencing Commission’s amendments to the . . . guidelines

have no effect on statutory minimum sentences mandated by Congress”); United States v.

Johnson, 564 F.3d 419, 423 (6th Cir. 2009) (finding that the district court properly concluded

that because the defendant was subject to a statutory mandatory minimum, the subsequent

sentencing amendment “would not have lowered the applicable guidelines range”); see also

United States v. McPherson, 629 F.3d 609, 611–12 (6th Cir. 2011) (same).

III.   Conclusion

       For the reasons stated herein, the defendant’s motion [Doc. 1479] is DENIED.

       IT IS SO ORDERED.



                                    s/ Thomas A. Varlan
                                    CHIEF UNITED STATES DISTRICT JUDGE




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